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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------          x
                                            :
UNITED STATES OF AMERICA,
                                            :
              Plaintiff,
                                            :
              - v. -
                                            :
THE M/Y AMADEA, A MOTOR YACHT
BEARING INTERNATIONAL MARITIME              :         23 Civ. 9304 (DEH)
ORGANIZATION NO. 1012531, INCLUDING
ALL FIXTURES, FITTINGS, MANUALS,            :
STOCKS, STORES, INVENTORIES, AND
EACH LIFEBOAT, TENDER, AND OTHER            :
APPURTENANCE THERETO,
                                            :
              Defendant-In-Rem.
                                            :
----------------------------------          x

   MEMORANDUM OF LAW IN SUPPORT OF UNITED STATES OF AMERICA’S
     MOTION TO STRIKE THE CLAIM, OR FOR SUMMARY JUDGMENT,
                     FOR LACK OF STANDING


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        Plaintiff United States of America (the “Government”), by its undersigned attorneys,

respectfully submits this motion to strike the claim of claimants Eduard Khudainatov and

Millemarin Investments Ltd. (“Claimants”) pursuant to Rule G(8)(c)(i)(B) of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, or Rule 56 of the Federal

Rules of Civil Procedure.

                               PRELIMINARY STATEMENT

        Claimants allege that Eduard Khudainatov is and has always been the ultimate beneficial

owner or “UBO” of the Amadea and has owned it through his company Millemarin since August

2021. But in September 2021, Claimants entered into an agreement to sell the Amadea to Errigal

Marine Limited, a company owned by Evgeny Kochman, the president of yacht management and

brokerage company Imperial Yachts SARL, for €225 million. Errigal then paid Millemarin that

full amount and Millemarin gave away the right to use the vessel, the right to obtain income or

additional proceeds from its sale, and the responsibility for paying for its upkeep. Claimants have

not had dominion or control over the Amadea or any financial stake in it ever since, retaining, at

most, only title.

        Based on these undisputed facts taken from Claimants’ own submissions—their verified

claim, their responses to the Government’s special interrogatories, and the documents referenced

therein—Claimants are mere straw owners of the Amadea, holding title to it for another. In the

Second Circuit, bare legal title is insufficient to establish standing because straw owners are not

“real” owners and thus suffer no injury from the forfeiture of their nominal property. Because

Claimants have failed to meet their burden to establish standing to contest forfeiture, the Court

should grant this motion and strike Claimants’ claim.




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                                   PROCEDURAL HISTORY

       On October 23, 2023, the Government commenced this case by filing its verified

complaint. ECF No. 1. 1 On November 28, 2023, Claimants filed a verified claim asserting that

Khudainatov “is and has always been the ultimate beneficial owner of the Defendant-In-Rem.”

ECF No. 9 (the “Claim”) ¶ 1; see id. ¶ 7. Khudainatov claims to own the Amadea through

Millemarin, a company incorporated in the British Virgin Islands on June 10, 2021. Id. ¶ 4.

Claimants assert that Millemarin purchased the Amadea on July 20, 2021, “by way of a sales

purchase agreement concluded with Nereo Management Limited,” another entity that Khudainatov

also claims to own. Claim Ex. 21; see also Ex. A 2 at 8-9. According to Claimants, Millemarin has

been the “legal owner” of the Amadea since August 16, 2021. Claim ¶¶ 1, 3 & Claim Ex. 3.

       On February 9, 2024, the Government served Claimants with a set of special interrogatories

requesting information about Claimants’ alleged ownership of the Amadea. Jude Decl. ¶ 2. Several

of the interrogatories requested information about Millemarin’s September 2021 agreement to sell

the Amadea to Errigal Marine Ltd. (“Errigal”) for €225 million, a transaction that the Claim had

not addressed. See Ex. A; see also FAC ¶¶ 30, 33-37. Claimants initially refused to provide

meaningful responses to most of the special interrogatories, including those concerning the Errigal

transaction. See ECF Nos. 67, 74, 76. Ultimately, however, Claimants served amended responses,

which included their explanation of the Errigal transaction. See Ex. A at 13-16. At the

Government’s request, Claimants also produced copies of four documents related to the Errigal



1
 On February 16, 2024, the Government filed its First Amended Complaint, which is the operative
complaint. ECF No. 37 (“FAC”). The FAC alleges that Khudainatov “has functioned as a straw
owner of the Amadea and other superyachts,” including for sanctioned persons. FAC ¶ 15; see id.
¶ 45.
2
  Unless otherwise stated, all “Ex.” citations are to the exhibits to the Declaration of Jennifer Jude
(“Jude Decl.”) submitted with this motion.

                                                  2
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transaction referenced in their amended responses: (1) a September 3, 2021 agreement between

Khudainatov and Kochman, Ex. B 3; (2) a November 22, 2021 addendum to that agreement, Ex.

C; (3) an undated document entitled “Addendum Two – Vessel ‘Amadea,’” 4 Ex. D; and (4) a

March 10, 2022 Instrument of Transfer of Shares, Ex. E. To date, Claimants have not produced

any other documents in discovery. Jude Decl. ¶ 10; see ECF No. 86 at 3.

                                  STATEMENT OF FACTS

       The record reveals the following facts, which are undisputed for the purpose of this

summary judgment motion, except where indicated. 5

       On July 20, 2021, the Amadea’s then-holding company, Nereo Management Limited

(“Nereo”), entered into a Memorandum of Agreement with Millemarin, committing to sell the

Amadea for the purchase price of approximately €243,820,000 (the “July MOA”). Ex. F. The July

MOA stipulated that the sale must be executed on or before August 16, 2021, and that all running

costs would be borne by the seller (Nereo) until the sale was complete. Ex. F. On August 16, 2021,

title to the Amadea was transferred from Nereo to Millemarin, as contemplated by the July MOA,

but the purchase price was only €1. 6 Claim Ex. 3.



3
  As Exhibits B and C to the Jude Declaration were in Russian, the Government translated them
into English and provides copies of the certified translations as Exhibits B-1 and C-1. On May 9,
2024, the Government provided these translations to Claimants and asked whether they had any
objections to the translations and Claimants responded with a few non-substantive changes; copies
of redlines showing those changes are provided as Exhibits B-2 and C-2. Jude Decl. ¶ 11
4
  According to Claimants’ amended responses to the special interrogatories, the date of this
addendum is November 30, 2021. Ex. A at 15.
5
  Given the early stage of discovery, the Government reserves the right to challenge Claimants’
factual representations at a later stage of the case when discovery is further developed. However,
the Government brings this motion now because, even accepting Claimants’ representations as
true, they lack standing.
6
 Khudainatov claims that he “is and has always been the ultimate beneficial owner” of the
Amadea, Claim ¶ 1; that he financed the Amadea’s building and “caused the creation” of the Nereo
                                                3
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       On September 14, 2021, Millemarin entered into a Memorandum of Agreement with

Errigal, committing to sell the Amadea for the purchase price of €225 million (the “September

MOA”). Ex. G at IY 000005. Errigal had been incorporated in the Cayman Islands on September

8, 2021, and its shares are owned solely by Kochman. Ex. A at 11; Ex. H.

       Pursuant to the terms of the September MOA, the purchase price for the Amadea was

divided into two payments, the first of which was due within three days (i.e., by September 17,

2021), in the amount of €45 million (20% of the total price), and the second of which was due by

November 1, 2021, for the remaining €180 million. Ex. G at IY 00006. Under the September

MOA, title to the Amadea would be re-registered “upon receipt of full payment” on November 1,

2021. Ex. G at IY 000007. Unlike traditional sales agreements, and unlike the July MOA, the

September MOA granted the buyer (Errigal) exclusive use rights to the Amadea before the sale

was completed. Id. at IY 000008. After the initial €45 million payment was made, Errigal was

entitled to use the Amadea and was required to pay for “all running costs,” such as operational,

technical, and crew costs. Id. at IY 000006-08. It also bore all risk of loss, damage, or destruction

of the Amadea. Id. Millemarin was prohibited from using the yacht going forward, even before the




entity, which held the title of the vessel “[f]rom the time it was delivered [by the builder] until
August 16, 2021,” Ex. A at 8-9; and that he has remained the Amadea’s UBO through Millemarin
since August 16, 2021, id. However, Imperial Yachts has repeatedly and across many years
represented that the UBO of the Amadea is Alexander Smuzikov. Indeed, a March 13, 2017 due
diligence letter signed by Imperial Yachts manager Julia Stewart states that Smuzikov was the
“primary investor” in the Amadea and its UBO. Ex. I. Smuzikov was listed as the UBO of the
Amadea (owning it through Nereo) on a due diligence form dated March 26, 2018, maintained by
Fiduchi, a Bailiwick of Jersey-based financial services company used by Imperial Yachts. Ex. J.
Imperial Yachts continued to tell Fiduchi that Smuzikov was the Amadea’s UBO until March 16,
2022, when Imperial Yachts “changed” the UBO from Smuzikov to Khudainatov “without
explanation or comment” causing Fiduchi to consider “whether we should actually freeze all
accounts across the Imperial portfolio until all have been properly reviewed.” Ex. K.

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initial payment was made. Id. at IY 000008. Millemarin was also barred from entering into “any

other agreement for the sale of the vessel.” Id. 7

       Errigal paid Millemarin the first installment of €45 million on September 17, 2021. Ex. A

at 19; Ex. G at IY 000002. Errigal paid Millemarin the balance, €180 million, on October 27, 2021.

Ex. A at 19; Ex. G at IY 000002. As provided for in the September MOA, the Amadea was

delivered to the waters off the South of France in October 2021, and Claimants have not had

possession since at least then. See Ex. G at IY 000006; Ex. L.

       According to Claimants, “the Errigal ‘transaction’ was a contemplated transaction between

Mr. Khudainatov and Mr. Kochman” that “was started but never completed.” Ex. A at 13.

Claimants allege that the two men “had a long-standing disagreement over investment and sales

strategy for the Amadea” in that Kochman believed “that the Amadea could be chartered, and that

chartering the Amadea would not only cover its running costs, but also could generate profits and

improve the prospects of a sale.” Id. Claimants contend that Khudainatov, on the other hand,

“believed that chartering the Amadea would reduce its value and make it harder to sell.” Id. As a

result, the two men reached “a compromise agreement” on September 3, 2021, that Claimants

describe as follows:

       Mr. Khudainatov would transfer to Mr. Kochman temporary use of the Amadea,
       including the right to charter the vessel and search for buyers, and the responsibility
       for paying its maintenance costs. The agreement provided for a transfer of
       €225,000,000. It also provided that Mr. Kochman would have right to charter
       profits and any sale proceeds in excess of €225,000,000.



7
 Claimants state that neither party to the September MOA “arranged for a Sea Trial” which was a
condition precedent for the transfer of a vessel, Ex. A at 14, however the September MOA
explicitly states that Errigal conducted a sea trial of the Amadea on September 11, 2021, Ex. G at
IY 000007 (“The BUYER has conducted a sea trial of the VESSEL on 11 September 2021 and
has accepted the VESSEL.”); id. at IY 000009 (“The BUYER carried out a sea trail [sic] on 11
September 2021. The VESSEL is sold as seen and as is.”).

                                                     5
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Id. at 13-14. Consistent with this description, the purported September 3, 2021 “cooperation

agreement” states that Khudainatov “is obligated to transfer the Yacht for use and management of

[Kochman] with the possibility of carrying out any actions for the lease of the Yacht and the

obligation to bear the costs of maintaining the Yacht, subject to payment by [Kochman] of the full

redemption value of the Yacht in the amount of EUR 225,000,000.” Ex. B-1. Further, Kochman

agreed to “bear all costs for the maintenance of the Yacht” immediately upon the signing of the

cooperation agreement, i.e., as of September 3, 2021. Id. Kochman received the right to charter

the yacht on terms he determined, to keep all payments from charters, to search for “potential

buyers of the Yacht,” and to keep all proceeds of any sale to any such buyer. 8 Id. The document

states that Kochman would “[a]rrange the sale of the Yacht no later than” December 1, 2021. Id.

         According to Claimants, even though the September MOA specified a completion date for

the sale of the Amadea to Errigal of November 1, 2021, “the intention of the parties as reflected in

the September 3, 2021 [cooperation] agreement, was for the completion date to be December 1,

2021, assuming Mr. Kochman was able to find a bona-fide buyer by that date.” 9 Ex. A at 14.

Claimants represent that Kochman was not able to find a buyer by mid-November and therefore

the parties “agreed in writing to delay the deadline by which Mr. Kochman was required to sell

the Amadea until May 1, 2022,” Ex. A at 14-15, and did so via a November 30, 2021 addendum

to the September MOA, see Ex. D. 10 This addendum reaffirmed that Errigal was responsible for



8
  Consistent with this, Claimants have stated that they have not received any other payments or
income in connection with their interest in the Amadea since entering into the September MOA
and September 3 cooperation agreement (other than the €225 million). See Ex. A at 26.
9
  While Claimants state that the September MOA “was drafted to correspond with” the September
3 cooperation agreement, Ex. A at 14, the September MOA contains an integration clause that
states that it constitutes “the entire Agreement between the Seller and the Buyer.” Ex. G at IY
000010.
10
     Kochman and Khudainatov also entered into a corresponding addendum to the September 3,
                                                 6
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all costs and risks associated with the Amadea “including but not limited to total loss of the Yacht.”

Ex. D. None of the parties’ agreements contains any provision for returning the Amadea to

Millemarin/Khudainatov (or for Millemarin/Khudainatov to return the €225 million to

Kochman/Errigal) in the event that Kochman failed to find a “bona fide buyer.” Exs. B-1, C-1, D,

E, G.

         During the period immediately after these agreements were signed, in which Kochman and

Imperial Yachts were supposedly seeking another buyer for the Amadea, Imperial Yachts

represented to third parties that the vessel’s owner had “decided to withdraw Amadea from sale

for the time being,” Ex. M, and turned away inquiries from potential purchasers, see Ex. N.

Meanwhile, Imperial Yachts was facilitating the Amadea’s use by Suleiman Kerimov and his

family who, after directing initial renovations and using the yacht in October 2021, began planning

a further major renovation of the vessel, as well as additional voyages on the Amadea through late

2023. Specifically, Kerimov and his assistant Dinar Khalikov stayed on the Amadea in mid-

October 2021. See Ex. L (October 17, 2021 Amadea manifest); Ex. O (version of same manifest

showing Kerimov’s was assigned call sign “G1”). The Amadea’s crew compiled Kerimov’s

“preferences” for this voyage, Ex. P, and one of the co-captains memorialized feedback from a

“walkaround with O.Rep Mr. Dinar” regarding changes to be made to the Amadea’s interior

“[w]ith assistance from ZID [Zuretti Interior Designers] managers,” Ex. Q; see also Ex. R (October

18, 2021 list of “Action Points” resulting from October 2021 Kerimov voyage describing some of

the planned renovations to the Amadea in “Spring 2022”). Shortly after this in October 2021 trip,

the Amadea crew made plans to keep Kerimov’s “Nike trainers on board for his next visit . . . [and]




2021 cooperation agreement dated November 22, 2021. Ex. C-1.

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to always have them on board for him” as well as to have a pair of “On Clouds” as instructed by

“DK,” i.e., Dinar Khalikov. Ex. S.

          In November 2021, Imperial Yachts retained Zuretti Interior Designers to design a “refit”

of the Amadea, which would take place over a 20-month period and cost €1 million in design fees

alone. Ex. T; see also Ex. U (“work list” for Amadea refit describing renovations to be made in

April/May 2022 and October 2022). Then, in January and February 2022, several members of

Kerimov’s family took the Amadea on a voyage around the Caribbean and nearby areas. See Ex.

V; Ex. W. While this voyage was underway, the Amadea’s co-captains and Imperial Yachts’

“Client Coordinator” emailed about the destinations Kerimov (G1) proposed for the Amadea for

later in 2022 and in 2023 as well as Kerimov’s daughter’s (G3) destination preferences. Ex. X; Ex.

Y. Consistent with their agreement to relinquish control over the Amadea’s use and costs,

Claimants were not involved in any of these decisions. See Exs. L, O-Y.

          On March 7, 2022, Millemarin, its holding company Invest International Finance Ltd.

(“IIF”), and Errigal entered into an amendment to the September MOA. Ex. G at IY 000001-04.

Pursuant to the amendment, Errigal would acquire 100% of the shares in Millemarin from IIF in

exchange for the previous payment of €225 million. 11 Id. at IY 000002; see also Ex. A at 15. By

structuring the transaction in this manner, Errigal would acquire title of the Amadea without

needing to re-register the vessel with Cayman Islands authorities (as it was already registered in

Millemarin’s name). Claim Ex. 4. The parties agreed that the share transfer would close on or

before March 15, 2022. Ex. G at IY 000003. IIF signed an Instrument of Transfer of Shares dated

March 10, 2022, that, if countersigned by Errigal, would have completed the transfer of




11
     Khudainatov is the sole sharedholder of IIF. Claim ¶ 1.

                                                  8
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Millemarin’s shares. See Ex. E. However, according to Claimants, this transaction never closed

because complications arose following Russia’s invasion of Ukraine and “Mr. Kochman told Mr.

Khudainatov that he did not want to close the transaction, and Mr. Khudainatov did not object.”

Ex. A at 15; see also Ex. E.

       In April 2022, the Amadea was seized by authorities in Fiji. ECF No. 35 ¶ 3. It has been in

the custody of the U.S. Marshals Service since approximately June 2022. Id.; see ECF No. 34.

                                          ARGUMENT

I.     The Court Should Strike the Claim for Lack of Standing

       A.      Legal Standards

       “In order to contest a governmental forfeiture action, claimants must have both standing

under the statute or statutes governing their claims and standing under Article III of the

Constitution as required for any action brought in federal court.” United States v. Cambio Exacto,

166 F.3d 522, 526 (2d Cir. 1999). Under Supplemental Rule G(8)(c), the Government may move

to strike a claim “[a]t any time before trial” for lack of standing. Supp. R. G(8)(c)(i). The

Government’s motion to strike “must be decided before any motion by the claimant to dismiss the

action,” Supp. R. G(8)(c)(ii)(A). This serves the important function of “ensur[ing] that the

government is put to its proof only where someone with a legitimate interest contests the

forfeiture.” United States v. All Assets Held at Bank Julius, 480 F. Supp. 3d 1, 12 (D.D.C. 2020);

see United States v. $38,570 U.S. Currency, 950 F.2d 1108, 1111-13 (5th Cir. 1992) (“Unless

claimant can first establish his standing he has no right to put the government to its proof”).

       A motion to strike may be presented in one of three ways: (1) as a motion for judgment on

the pleadings, (2) as a motion for summary judgment, or (3) as a motion following an evidentiary

hearing. Supp. R. G(8)(c)(ii)(B). At all stages, the burden of proof to establish standing rests with

the claimant. Mercado v. U.S. Customs Service, 873 F.2d 641, 644 (2d Cir. 1989); United States
                                                 9
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v. One 1986 Volvo 750T, 765 F. Supp. 90, 91 (S.D.N.Y. 1991); United States v. One 1982 Porsche

928, 732 F. Supp. 447, 451 (S.D.N.Y. 1990); see also United States v. Nine Hundred Sixty

Thousand Dollars in U.S. Currency, 307 F. App’x 251, 255 (11th Cir. 2006) (“Since standing is

not a mere pleading requirement but, rather, is an indispensable part of a claimant’s case, the

alleged ownership interest in the seized property must be supported in the same way as any other

matter on which the claimant bears the burden of proof.”).

       “When the government moves for summary judgment in a forfeiture proceeding, that claim

of ownership will be scrutinized in a manner consistent with the principles of Rule 56 of the

Federal Rules of Civil Procedure.” United States v. $138,381, in U.S. Currency, 240 F. Supp. 2d

220, 227 (E.D.N.Y. 2003). Summary judgment is appropriate if the moving party demonstrates

that there is no genuine dispute of material fact and that the moving party is entitled to judgment

as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).

The moving party bears the burden of showing that it is entitled to summary judgment. See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). “[T]he nonmoving party must come

forward with specific facts showing that there is a genuine issue of material fact for trial.” Shannon

v. N.Y.C. Transit Auth., 332 F.3d 95, 99 (2d Cir. 2003) (citing Matsushita Elec. Co. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986)); see also Fed. R. Civ. P. 56(c)(1).

       In reviewing a summary judgment motion, courts construe the evidence “in the light most

favorable to the non-movant and draw[s] all reasonable inferences in that party’s favor.” Anemone

v. Metro. Transp. Auth., 629 F.3d 97, 113 (2d Cir. 2011). However, “unsupported allegations do

not create a material issue of fact,” Weinstock v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000),

and a factual dispute does not preclude summary judgment where “the evidence is merely

colorable, or is not significantly probative,” Anderson, 477 U.S. at 249 (citation omitted).


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       In response to a motion to strike for lack of standing, “the claimant bears the burden of

establishing standing by a preponderance of the evidence.” United States v. Premises & Real

Property at 9276 Ridge Road, No. 16-CV-318-A, 2018 WL 4681773, at *2 (W.D.N.Y. Sept. 28,

2018) (citing Supp. R. G(8)(c)(ii)(B)). “Although a claimant need not prove standing by a

preponderance of the evidence to survive summary judgment, a court must determine that ‘a fair-

minded jury could return a verdict for [the claimant] on the evidence presented.’ That is, the

evidence set forth must be sufficient for a reasonable factfinder to conclude that the claimant has

standing to challenge the forfeiture.” United States v. JP Morgan Chase Bank Acct. No. Ending

8215 in Name of Ladislao V. Samaniego, VL: $446,377.36, 835 F.3d 1159, 1164 (9th Cir. 2016)

(quoting Anderson, 477 U.S. at 252).

       B.      Bare Legal Title to Property Is Insufficient to Establish Standing to Contest
               Its Forfeiture

       To have Article III standing, a claimant must demonstrate an “ownership or possessory

interest in the seized or forfeited property.” United States v. PokerStars, No. 11 Civ. 2564 (LBS),

2012 WL 1659177, at *2 (S.D.N.Y. May 9, 2012) (citing Cambio Exacto, 166 F.3d at 527). “If the

claimant cannot show a sufficient interest in the property to give him Article III standing there is

no case or controversy, in the constitutional sense, capable of adjudication in the federal courts.”

United States v. New Silver Palace Restaurant, Inc., 810 F. Supp. 440, 442 (E.D.N.Y. 1992)

(internal quotation marks, alterations, and citations omitted).

       Bare legal title alone—that is, “possession of mere title by one who does not exercise

dominion and control over the property”—is insufficient to establish standing. United States v.

Premises & Real Property at 500 Delaware Street, 868 F. Supp. 513, 518 (W.D.N.Y. 1994), aff’d

113 F.3d 310 (2d Cir. 1997); see United States v. $829,422.42, 561 F. App’x 100 (2d Cir. 2014)

(“In order to have standing to challenge the forfeiture of property, one must be more than a mere

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‘straw owner[]’ who holds title for some unknown person.”); United States v. One Red 2003

Hummer H2, 234 F.Supp.3d 415, 419 (W.D.N.Y. 2017) (“Thus, in determining standing in civil

forfeiture cases, the court must look beyond bare legal title and examine whether the record owner

is the true owner, or merely a ‘strawman’ set up to avoid forfeiture.”); United States v. $829,422.42

in U.S. Currency, No. 3:08-cv-00914 (DJS), 2013 WL 2446486, at *7 (D. Conn. June 5, 2013)

(“However, in the context of forfeitures, it is settled law that possession of bare legal title by one

who does not exercise dominion and control over the property is insufficient to establish standing

to challenge a forfeiture.” (internal quotation marks omitted)); United States v. One 1982 Porsche

928, Three-Door, License Plate 1986/NJ Temp./534807, 732 F. Supp. 447, 451 (S.D.N.Y. 1990)

(“A search for standing in civil forfeiture cases looks beyond the formal title to determine whether

the record owner is the ‘real’ owner or merely a ‘strawman’ set up either to conceal illegal dealings

or to avoid forfeiture.”).

        Straw owners lack standing because they do not have a real interest in the property and

therefore do not suffer an actual or imminent injury from its forfeiture. As the Second Circuit

explained in Cambio Exacto, “an owner of property seized in a forfeiture action will normally have

standing to challenge the forfeiture” because ownership is “often [a] reliable indicator[] of injury

that occurs when property is seized.” 166 F.3d at 527. However, “it is the injury to the party seeking

standing that remains the ultimate focus. It is because of the lack of proven injury that we have,

for example, denied standing to ‘straw’ owners who do indeed ‘own’ the property, but hold title

to it for somebody else. Such owners do not themselves suffer an injury when the property is

taken.” Id. (citing 500 Delaware Street, 113 F.3d at 312).

        “Moreover, numerous cases hold that once the government makes a prima facie showing

that a third-party claimant is a ‘straw,’ the claimant must ‘present evidence of dominion and control


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or other indicia of true ownership’ or have its claim dismissed for lack of standing.” United States

v. Ida, 14 F. Supp. 2d 454, 459-60 (S.D.N.Y. 1998); see United States v. One Parcel of Real Estate

Commonly Known as 2030 East Monroe Street, 884 F. Supp. 1218, 1223 (C.D. Ill. 1995); United

States v. $7,000,000 in U.S. Currency, 583 F. Supp. 2d 725, 729 & n.4 (M.D.N.C. 2008) (calling

this “the ‘dominion and control’ test”); STEFAN D. CASSELLA, ASSET FORFEITURE LAW IN THE

UNITED STATES, 519 (3d ed. 2022) (“[T]he majority rule is that in addition to showing legal title

to the property, the claimant must show that he exercised dominion and control over it, consistent

with the rights of the true owner.”). In such cases, the issue of ownership “turns primarily upon

the identity of the individual exercising dominion and control over the vehicle, he (or she) being

regarded as its true owner.” One Red 2003 Hummer H2, 234 F. Supp. 3d at 419 (citing United

States v. One 1974 Jensen Interceptor, Vin #23109665, No. 82 CIV. 7215-CSH, 1985 WL 3814,

at *3 (S.D.N.Y. Nov. 19, 1985)).

       For example, in 500 Delaware Street, the Second Circuit affirmed a grant of summary

judgment for the government because the claimant “was only a straw owner and thus lacked

standing to contest the forfeiture” where he had legal title to the property but his son “continued

in possession and management of the property,” “received all rental payments and was responsible

for leasing when vacancies occurred,” and “made mortgage, property tax, and insurance payments,

paid utility bills, and maintained the property and made repairs.” 113 F.3d at 312. Similarly, in

One 1982 Porsche 928, the court held that the claimants lacked standing to challenge forfeiture of

a vehicle where they “held neither a possessory nor controlling interest” in it and had “no financial

stake” in it and were therefore merely “nominal” owners. 732 F. Supp. at 452.




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       C.      Claimants Lack Standing to Challenge Forfeiture Because They Are Mere
               Straw Owners

       The undisputed facts show that while Millemarin still holds title to the Amadea, Claimants

have no financial, possessory, or controlling interest in it. See Government’s Local Civil Rule 56.1

Statement (“56.1 Stmt.”). Claimants are merely nominal owners, and their claim should be

stricken.

       Claimants have no financial stake in the Amadea as they have been fully paid for it and are

insulated from any potential losses or gain associated with it. See 500 Delaware Street, 113 F.3d

at 312 (claimant lacked standing where, despite having title to property, his son managed,

maintained, and paid all bills related to the property and was responsible for leasing it and entitled

to all rental payments). As of September 2021, Claimants have had no right to any financial benefit

from the Amadea. 56.1 Stmt. ¶ 29. Under the terms of the agreements with Errigal/Kochman, all

proceeds from any charters or from any future sale of the vessel belong to Errigal. Id. ¶ 21.

Claimants are not permitted to enter into any agreement to sell the Amadea to anyone else. Id. ¶ 10.

Claimants also have had no financial responsibility for the Amadea since September 2021 when

they transferred “all running costs” for the Amadea and all risks to the Amadea to Errigal. Id. ¶ 30.

Finally, by October 27, 2021, Claimants had been fully paid for the Amadea, having received the

full, agreed purchase price of €225 million in two installments. Id. ¶ 28.

       Further, Claimants relinquished their right to dominion and control over the Amadea when

they granted Errigal the exclusive right to use it from September 2021 on. Id. ¶ 31. Claimants have

also not been in possession of the vessel since at least October 2021 when it was delivered to

Errigal in the South of France pursuant to the terms of the September MOA. Id. ¶ 32. Additionally,

after this time, as permitted and facilitated by Kochman and Imperial Yachts, Suleiman Kerimov

and his family planned the renovations to the Amadea and its activities and destinations, not

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Claimants. Id. ¶¶ 16-17.; see United States v. One Parcel of Real Estate Commonly Known as 2030

East Monroe Street, 884 F. Supp. 1218, 1223 (C.D. Ill. 1995) (straw owner’s “lack of involvement

in the building of the new garage highlights her lack of control over the defendant property”);

$829,422.42 in U.S. Currency, 2013 WL 2446486, at *8 (claimant who “did not have the power

to make unilateral decision about the” defendant property, was merely a nominal owner who

lacked standing to challenge its forfeiture); United States v. Vehicle: One 1990 Nissan Pathfinder,

VIN: JN8HD 17YOLW213075, No. 92-CV-1336, 1994 WL 476704, at *4 (N.D.N.Y. Sept. 2, 1994)

(claimant lacked standing where a third party person “paid for the defendant vehicle and exercised

such complete dominion and control over [it] as to confer true ownership upon him.”)

       In sum, Claimants have conceded that they entered into contracts pursuant to which they

gave up dominion, control, possession, and their financial stake in the Amadea. They were fully

paid for the vessel years ago and have had minimal involvement with it since then. Claimants are

not true owners—they are straw owners who are holding title to the vessel on behalf of another.

As such, they will suffer no injury in fact from the vessel’s forfeiture. Cambio Exacto, 166 F.3d at

527. They are merely a facade and lack Article III standing to participate in this case.

                                         CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the Court strike the

Claim of Khudainatov and Millemarin pursuant to Supplemental Rule G(8)(c)(i)(B) because they

have failed to meet their burden to establish standing to contest forfeiture.




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Dated: New York, New York
       May 17, 2024

                                                   Respectfully submitted,

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